         Case 1:18-cr-00850-WHP Document 15 Filed 12/07/18 Page 1 of 7



                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

               v.
                                           No. 18 Cr. 850 (WHP)
 MICHAEL COHEN,


               Defendant.



                    GOVERNMENT’S SENTENCING MEMORANDUM

       The Special Counsel’s Office (“SCO”) provides this memorandum in connection with the

sentencing of Michael Cohen scheduled for December 12, 2018. On November 29, 2018, Cohen

pleaded guilty to one count of making false statements to Congress, in violation of 18 U.S.C.

§ 1001(a). The government does not take a position with respect to a particular sentence to be

imposed but submits that it is appropriate for any sentence of incarceration to be served

concurrently to any sentence imposed by the Court in United States v. Cohen, 18-cr-602 (WHP).

       The defendant’s crime was serious. He withheld information material to the investigations

of Russian interference in the 2016 U.S. presidential election being conducted by the Senate Select

Committee on Intelligence (“SSCI”), the House Permanent Select Committee on Intelligence

(“HPSCI”), and the SCO. The defendant lied to Congress about a business project (the “Moscow

Project”) that he worked on during the 2016 presidential campaign, while he served as Executive

Vice President at a Manhattan-based real estate company (the “Company”) and as Special Counsel

to the owner of the Company (“Individual 1”). The defendant admitted he told these lies—which

he made publicly and in submissions to Congress—in order to (1) minimize links between the

Moscow Project and Individual 1 and (2) give the false impression that the Moscow Project had
         Case 1:18-cr-00850-WHP Document 15 Filed 12/07/18 Page 2 of 7



ended before the Iowa caucus and the first presidential primaries, in hopes of limiting the ongoing

Russia investigations being conducted by Congress and the SCO.

       In recent months, however, the defendant has taken significant steps to mitigate his

criminal conduct. He chose to accept responsibility for his false statements and admit to his

conduct in open court. He also has gone to significant lengths to assist the Special Counsel’s

investigation. He has met with the SCO on seven occasions, voluntarily provided the SCO with

information about his own conduct and that of others on core topics under investigation by the

SCO, and committed to continuing to assist the SCO’s investigation. The information he has

provided has been credible and consistent with other evidence obtained in the SCO’s ongoing

investigation.

       Offense Conduct

       The defendant’s offense conduct is set forth in the Information and the Presentence

Investigation Report (PSR). We underscore particular facts for purposes of sentencing.

       The defendant’s lies to Congress were deliberate and premeditated. His false statements

did not spring spontaneously from a line of examination or heated colloquy during a congressional

hearing. They started in a written submission that he chose to provide to both houses of Congress

ahead of his appearances. These circumstances show a deliberate effort to use his lies as a way to

set the tone and shape the course of the hearings in an effort to stymie the inquiries.

       The defendant amplified his false statements by releasing and repeating his lies to the

public, including to other potential witnesses. The defendant was scheduled to appear before both

intelligence committees in closed sessions. Prior to testifying, the defendant made a public

appearance at the U.S. Capitol and released his prepared opening statement, which falsely claimed

that the Moscow Project “was terminated in January of 2016[,] which occurred before the Iowa



                                                 2
          Case 1:18-cr-00850-WHP Document 15 Filed 12/07/18 Page 3 of 7



caucus and months before the very first primary.” By publicly presenting this false narrative, the

defendant deliberately shifted the timeline of what had occurred in the hopes of limiting the

investigations into possible Russian interference in the 2016 U.S. presidential election—an issue

of heightened national interest.

       The defendant’s false statements obscured the fact that the Moscow Project was a lucrative

business opportunity that sought, and likely required, the assistance of the Russian government. If

the project was completed, the Company could have received hundreds of millions of dollars from

Russian sources in licensing fees and other revenues. The fact that Cohen continued to work on

the project and discuss it with Individual 1 well into the campaign was material to the ongoing

congressional and SCO investigations, particularly because it occurred at a time of sustained

efforts by the Russian government to interfere with the U.S. presidential election. Similarly, it was

material that Cohen, during the campaign, had a substantive telephone call about the project with

an assistant to the press secretary for the President of Russia.

       The defendant’s false statements to Congress began in approximately late August 2017,

when he submitted his written statement about the Moscow Project to SSCI and HPSCI. His false

statements continued through his oral testimony before the committees in October 2017. And

when Cohen first met with the SCO in August 2018, he repeated many of his prior false statements

about the circumstances of the Moscow Project.1 Only when the defendant met with the SCO a

second time on September 12, 2018—after he had pled guilty in United States v. Cohen, 18-cr-602




1
       This initial meeting with the SCO, on August 7, 2018, was set up at Cohen’s request. In
that meeting, Cohen voluntarily provided information relevant to other aspects of the SCO’s
ongoing investigation, but when asked questions about the Moscow Project, Cohen provided false
answers in what he later explained was an effort not to contradict his congressional testimony.
                                                 3
         Case 1:18-cr-00850-WHP Document 15 Filed 12/07/18 Page 4 of 7



(WHP)—did the defendant admit that his prior statements about the Moscow Project had been

deliberately false and misleading.

       Acceptance of Responsibility

       Starting with his second meeting with the SCO in September 2018, the defendant has

accepted responsibility not only for his false statements concerning the Moscow Project, but also

his broader efforts through public statements and testimony before Congress to minimize his role

in, and what he knew about, contacts between the Company and Russian interests during the course

of the campaign.

       Cohen admitted that he had lied to Congress and to the SCO about the Moscow Project.

He provided detailed information about the true circumstances of the Moscow Project, including

its duration, the persons involved in the discussions, contacts with Russian government officials,

and discussions during the first half of 2016 about the possibility of travel to Russia in connection

with the Moscow Project. In addition to correcting the timeline and detailing the contacts he had

during pursuit of the Moscow Project, Cohen explained financial aspects of the deal that would

have made it highly lucrative for the Company and himself. The information provided by Cohen

about the Moscow Project in these proffer sessions is consistent with and corroborated by other

information obtained in the course of the SCO’s investigation.2




2
       The defendant, without prompting by the SCO, also corrected other false and misleading
statements that he had made concerning his outreach to and contacts with Russian officials during
the course of the campaign. For example, in a radio interview in September 2015, the defendant
suggested that Individual 1 meet with the President of Russia in New York City during his visit
for the United Nations General Assembly. When asked previously about these events, the
defendant claimed his public comments had been spontaneous and had not been discussed within
the campaign or the Company. During his proffer sessions, the defendant admitted that this
account was false and that he had in fact conferred with Individual 1 about contacting the Russian
government before reaching out to gauge Russia’s interest in such a meeting. The meeting
ultimately did not take place.
                                                4
         Case 1:18-cr-00850-WHP Document 15 Filed 12/07/18 Page 5 of 7



         Cohen’s decision not only to admit to his prior false statements in proffer sessions with

the Government, but to plead guilty to his criminal conduct in open court, demonstrates that Cohen

has taken responsibility for his wrongdoing and is willing to face the consequences. Cohen’s

acceptance of responsibility for this offense conduct is a significant mitigating factor given the

circumstances of this case, his prior relationship with Individual 1 and the Company, and the

intense public focus on this investigation.

       Assistance with the SCO’s Investigation

       Pursuant to the plea agreement, the Government agreed to bring to the Court’s attention at

sentencing in this matter and in United States v. Cohen, 18-cr-602 (WHP), the nature and extent

of the defendant’s assistance to the SCO.

       The defendant has provided, and has committed to continue to provide, relevant and

truthful information to the SCO in an effort to assist with the investigation. The defendant has met

with the SCO for seven proffer sessions, many of them lengthy, and continues to make himself

available to investigators. His statements beginning with the second meeting with the SCO have

been credible, and he has taken care not to overstate his knowledge or the role of others in the

conduct under investigation.

       The defendant’s assistance has been useful in four significant respects. First, the defendant

provided information about his own contacts with Russian interests during the campaign and

discussions with others in the course of making those contacts. For example, and as described

above, the defendant provided a detailed account of his involvement and the involvement of others

in the Moscow Project, and also corrected the record concerning his outreach to the Russian

government during the week of the United Nations General Assembly. The defendant also

provided information about attempts by other Russian nationals to reach the campaign. For



                                                5
             Case 1:18-cr-00850-WHP Document 15 Filed 12/07/18 Page 6 of 7



example, in or around November 2015, Cohen received the contact information for, and spoke

with, a Russian national who claimed to be a “trusted person” in the Russian Federation who could

offer the campaign “political synergy” and “synergy on a government level.” The defendant

recalled that this person repeatedly proposed a meeting between Individual 1 and the President of

Russia. The person told Cohen that such a meeting could have a “phenomenal” impact “not only

in political but in a business dimension as well,” referring to the Moscow Project, because there is

“no bigger warranty in any project than consent of [the President of Russia].” Cohen, however,

did not follow up on this invitation.3

        Second, Cohen provided the SCO with useful information concerning certain discrete

Russia-related matters core to its investigation that he obtained by virtue of his regular contact

with Company executives during the campaign.

        Third, Cohen provided relevant and useful information concerning his contacts with

persons connected to the White House during the 2017–2018 time period.

        Fourth, Cohen described the circumstances of preparing and circulating his response to the

congressional inquiries, while continuing to accept responsibility for the false statements contained

within it.

                                            Conclusion

        The defendant’s crime was serious, both in terms of the underlying conduct and its effect

on multiple government investigations. The sentence imposed should reflect the fact that lying to

federal investigators has real consequences, especially where the defendant lied to investigators

about critical facts, in an investigation of national importance.


3
        The defendant explained that he did not pursue the proposed meeting, which did not take
place, in part because he was working on the Moscow Project with a different individual who
Cohen understood to have his own connections to the Russian government.

                                                 6
         Case 1:18-cr-00850-WHP Document 15 Filed 12/07/18 Page 7 of 7



       However, the defendant has made substantial and significant efforts to remediate his

misconduct, accept responsibility for his actions, and assist the SCO’s investigation. Accordingly,

the Government respectfully submits that the Court should give due consideration to the

defendant’s efforts set forth above and that it would be appropriate to allow the defendant to serve

any sentence imposed in this case concurrently with any sentence imposed in United States v.

Cohen, 18-cr-602 (WHP).



                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER III
                                                     Special Counsel


Dated: December 7, 2018

                                              By:    __/s/____________
                                                     Jeannie S. Rhee
                                                     Andrew D. Goldstein
                                                     L. Rush Atkinson
                                                     U.S. Department of Justice
                                                     Special Counsel’s Office
                                                     950 Pennsylvania Avenue NW
                                                     Washington, D.C. 20530
                                                     Telephone: (202) 616-0800

                                                     Attorneys for the United States of America




                                                7
